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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

                                                      §
U.S. COMMODITY FUTURES TRADING                        §
COMMISSION,                                           §
                                                      §           CIVIL ACTION NO.
                       Plaintiff,                     §            1:1 0-cv-00385-SS
                                                      §
v.                                                    §
                                                      §
RICHARD D. THEYE; and                                 §
MICIND CAPITAL MANAGEMENT, INC.                       §
                                                      §
                      Defendants.                     §
---------------------------------- §

             RECEIVER'S ANNUAL ACCOUNTING OF DISBURSEMENTS

TO:    UNITED STATES DISTRICT COURT CLERI(:

       I(elly M. Crawford, as the court-appointed Receiver, submits the following annual

accounting of disbursements for 2014, respectfully showing as follows:

       1.     Pursuant to the Amended Final Judgment entered against Defendant Richard

Donald Theye on January 24, 2011 in United States of America v. Richard Donald Theye,

Criminal No. A-10-CR-346 [Docket No. 44], with respect to Defendant Theye's restitution

obligation, the judgment provides that: "The Receiver shall make and file with the United States

District Court Clerk in Austin, Texas an annual accounting of all disbursements of funds

collected by the Receiver in the CFTC action and disburse[ d] to the Victims, with the first such

accounting due on or before January 2, 2012."

       2.     On December 20, 2011 [Docket No. 78] the Receiver filed his first accounting.

On May 4, 2012, the Court entered an Order approving the Receiver's final accounting [Docket

No. 85]. Since that time there have been no further distributions to the Victims. However, the



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Receiver continued to collect settlement payments from Aldrich Famisaran and Angel DeMola

totaling $10,521.93 that were deposited into the receivership account. In addition, the Receiver

received a payment in full of $1,105.81 for a judgment obtained against Sergio Ruiz. These

monies were deposited into the trust account of the Receiver's law firm. On January 15, 2015,

the Receiver tendered a check to the Clerk of the United States District Court for the Western

District of Texas in the amount of$11,627.74, representing all monies in possession or control of

the Receiver.   In addition, the Receiver assigned the unsatisfied settlement agreements and

judgments payable to the Clerk. By letter dated January 15, 2015 the Receiver directed obligors

under the settlement agreements to make all future settlement payments to the Clerk.

Accordingly, the Receiver closed the receivership account and does not anticipate receiving any

future sums in this action.



       Respectfully submitted January 15, 2015.

                                            RECEIVER KELLY M. CRAWFORD

                                            Is/ Kelly M Crawford
                                            Kelly M. Crawford, Receiver
                                            State Bar No. 05030700

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                                            500 N. Akard Street, Suite 2700
                                            Dallas, Texas 75201
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                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on January 15, 2015, I electronically filed the
foregoing document with the clerk of the U.S. District Court, Western District of Texas, using
the electronic case filing system of the court. The electronic case filing system sent a "Notice of
Electronic Filing" to the following attorneys of record:

   James W. Deacon                                  Charlene C. Koonce
   Commodity Futures Trading Commission             Scheef & Stone, L.L.P.
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   Attorneys for CFTC                               Attorneys for Receiver




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        I further certify that on this 15th day of January, 2015, I served a true and correct copy of
the foregoing by sending it by electronic mail or first class mail to the persons listed below:
   I(athleen M. Banar                                 Jessee Shifflett
   Commodity Futures Trading Commission               United States Probation Office
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   Washington, DC 20581                               903 San Jacinto Boulevard, Suite 121
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